                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


NORIANA RADWAN,                                   : Notice of Appeal

       Plaintiff,                                 :

VS.                                               : Civil Action No. 3:16-cv-02091 (VAB)

UNIVERSITY OF CONNECTICUT                         :
BOARD OF TRUSTEES, WARDE
MANUEL, LEONARD TSANTIRIS,
and MONA LUCAS, individually,                     :

       Defendants.                                : July 3, 2020


        NOTICE OF APPEAL TO THE UNITED STATES COURT OF APPEALS
                       FOR THE SECOND CIRCUIT

       Notice is hereby given that Noriana Radwan, the Plaintiff in the above-named

case, hereby appeals to the United States Court of Appeals for the Second Circuit from

the final judgment of the District Court for the District of Connecticut, entered in this

action on June 26, 2020 (ECF No. 113), granting judgment in favor of the Defendants,

University of Connecticut Board of Trustees, Warde Manuel, Leonard Tsantiris and

Mona Lucas and closing the case, and from all orders and rulings adverse to the

Plaintiff in this case, including the order entered on December 14, 2017 (ECF No. 29),

granting in part and denying in part the Defendants’ motion to dismiss, and the order

entered on June 6, 2020 (ECF No. 112), granting the Defendants' motion for summary

judgment and denying the Plaintiff's cross-motion for summary judgment.




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                                                    The Plaintiff, NORIANA RADWAN

                                              By: /s/ Jonathan J. Klein
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                                                                  - and -

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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 3, 2020, a copy of the foregoing Notice of Appeal was

filed electronically and served by mail on anyone unable to accept electronic filing.

Notice of this filing will be sent by e-mail to all parties by operation of the court’s

electronic filing system or by mail to anyone unable to accept electronic filing as

indicated on the Notice of Electronic Filing. Parties may access this filing through the

court’s CM/ECF System.


                                                    /s/ Jonathan J. Klein
                                                    Jonathan J. Klein




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